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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff/Respondent,
                                                      Civil Case No. 09-11044
v.
                                                      Criminal Case No. 04-90040
JOSE CRUZ,
                                                      HON. MARIANNE O. BATTANI
                       Defendant/Petitioner.

____________________________________/


      OPINION AND ORDER ADOPTING THE MAGISTRATE JUDGE’S REPORT AND
      RECOMMENDATION AND DENYING PETITIONER’S MOTION UNDER 28 U.S.C.
              § 2255 TO VACATE, SET ASIDE, OR CORRECT SENTENCE

I.       INTRODUCTION

         Before the Court is Petitioner Jose Cruz’s Objection to the Magistrate Judge’s

Report and Recommendation (“R&R”) that this Court Deny Petitioner’s § 2255 Motion to

Vacate, Set Aside, or Correct His Sentence. (Doc. 168; see doc. 167). For the reasons

that follow, the Court adopts the Magistrate Judge’s R&R and denies Cruz’s § 2255

motion.



II.      STATEMENT OF FACTS

         Cruz was indicted on three counts: (1) conspiracy to distribute and distribution of

marijuana, 21 U.S.C. § 846; (2) aiding and abetting the use of an explosive device

during or in relation to a drug trafficking crime, 18 U.S.C. §§ 924(c)(1)(B)(ii) and 2; and

(3) aiding and abetting the use of firearms during or in relation to a drug trafficking

crime, 18 U.S.C. §§ 924(c) and 2. At trial, the government presented evidence
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indicating that Cruz conspired with others to rob various “drug houses” using weapons

and, in one instance, a Molotov cocktail. Following trial, a jury found Cruz guilty of all

three charges against him. The Court sentenced Cruz to one day imprisonment on

Count 1, 360 months’ imprisonment on Count 2, and 60 months’ imprisonment on Count

3, all to run consecutively. Cruz appealed his convictions to the Sixth Circuit and raised

issues involving the Court’s failure to instruct on a lesser-included offense and vouching

for a witness. The Sixth Circuit affirmed Cruz’s convictions.

       Cruz subsequently filed the present Motion under 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence. In this motion, Cruz claimed the following:

       1.     The jury erred by convicting him of conspiring to distribute and
              distribution of marijuana despite the fact that there was insufficient
              evidence;

       2.     The evidence presented in support of the aforementioned charge
              “amounted to a variance of what was charged in the indictment”;

       3.     He was improperly denied effective assistance of counsel when the
              district court denied both his motion to substitute counsel and his
              counsel’s motion to withdraw;

       4.     He was denied due process of law at sentencing when he was
              sentenced twice for violating 18 U.S.C. § 924(c)(1); and

       5.     He was denied effective assistance of counsel by his trial counsel’s
              failure to object at sentencing to the aforementioned denial of
              Cruz’s right to due process.

(Docs. 148, 157). The Magistrate Judge recommended that this Court deny the Motion

to Vacate. In particular, the Magistrate Judge determined that Issues 1 - 4 were

procedurally barred and Cruz had not shown both prejudice and good cause for failing

to raise the claims on direct appeal. (Doc. 167). Furthermore, the Magistrate Judge

found that Cruz’s claim of ineffective assistance of trial counsel failed because it would

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have been futile for trial counsel to raise Cruz’s objection to being sentenced twice

under the same statute. Now before the Court are Cruz’s objections that the Magistrate

Judge’s R&R is mistaken because (1) he has established cause and prejudice due to

the fact that there was no testimony that he sold drugs; and (2) he was improperly

sentenced twice under 18 U.S.C. § 924(c)(1).



III.     STANDARD OF REVIEW

         As an initial matter, the Court notes that pro se pleadings — such as Cruz’s —

are to be liberally construed. See Williams v. Browman, 981 F.2d 901, 903 (6th Cir.

1992).

         A district court must conduct a de novo review of the parts of a Magistrate

Judge’s R&R to which a party objects. 28 U.S.C. § 636(b)(1). The district court “may

accept, reject, or modify, in whole or in part, the findings or recommendations made by

the magistrate.” Id. The requirement of de novo review “is a statutory recognition that

Article III of the United States Constitution mandates that the judicial power of the

United States be vested in judges with life tenure.” United States v. Shami, 754 F.2d

670, 672 (6th Cir.1985). Accordingly, Congress enacted 28 U.S.C. § 636(b)(1) to

“insure[ ] that the district judge would be the final arbiter” of a matter referred to a

Magistrate Judge. Flournoy v. Marshall, 842 F.2d 875, 878 (6th Cir.1987).




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IV.    ANALYSIS

       As the Magistrate Judge noted, motions seeking to collaterally challenge a

conviction or sentence under 28 U.S.C. § 2255 may generally only raise issues that

were presented in the petitioner’s direct appeal. See United States v. Timmreck, 441

U.S. 780, 783 (1979). In order to raise an issue not presented in the petitioner’s direct

appeal, the petitioner must show both cause excusing the procedural default and actual

prejudice from the complained-of errors. See United States v. Frady, 456 U.S. 152,

167-68 (1982). Cruz argues that because no cooperating witnesses testified that he

sold drugs he has established that he was sufficiently prejudiced by the alleged errors at

trial. This argument fails, however, because there was trial testimony that he sold

drugs. In particular, Emmanuel Raynor testified as follows:

       Q:     Did you ever do any activity or distribute anything with Mr. Cruz?

       A:     Yes, he was presently doing distributing when I was distributing
              [eight or ten pounds of marijuana at a time] to James Cherry.

(Doc. 133 at 82; see id. at 80-81). Furthermore, as the Magistrate Judge’s R&R noted,

there was a significant amount of other evidence implicating Cruz’s involvement in a

drug distribution conspiracy. Accordingly, Cruz’s objection that he has established

prejudice because there was no testimony that he sold drugs fails.

       Cruz also objects that he should not have received two separate sentences for

violations of 18 U.S.C. § 924(c) — which involved his use of a firearm and an explosive

device in relation to drug trafficking crimes — when he was only convicted of a single

count of conspiracy.




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       As the Magistrate Judge’s R&R noted when addressing this argument, Cruz was

properly given two separate sentences for his violations of 18 U.S.C. § 924(c) under

both Count 2 and Count 3. In addition to being convicted for conspiracy to distribute

and distribution of marijuana under Count 1, Cruz also was convicted of aiding and

abetting the use of both an explosive device (Count 2) and a firearm (Count 3) during or

in relation to drug trafficking offenses. Cruz’s aiding and abetting the use of an

explosive device was found to violate 18 U.S.C. § 924(c)(1)(B)(ii), and his aiding and

abetting the use of a firearm was found to violate 18 U.S.C. § 924(c). See also 18

U.S.C. § 2.

       Under 18 U.S.C. § 924(c)(1)(A), any person who uses or carries a firearm during

and in relation to a drug trafficking crime shall, in addition to the punishment provided

for the drug trafficking crime, be sentenced to a term of imprisonment of not less than 5

years. If the firearm possessed by the person is a destructive device, however, the

person shall be sentenced to not less than 30 years’ imprisonment. 18 U.S.C.

§ 924(c)(1)(B)(ii). As Cruz was convicted of aiding and abetting both the use of a

firearm and the use of a explosive device, he was given consecutive sentences of 5

years and 30 years, respectively, for these offenses.

       In United States v. Fekete, 535 F.3d 471, 483 (6th Cir. 2008), the Sixth Circuit

Court of Appeals held,

       Sections 924(c)(1)(A), (C) & (D) clearly provide that two firearm
       convictions in connection with separate underlying felony offenses must
       be counted as independent convictions, carrying consecutive
       sentences . . . . And in Deal v. United States, 508 U.S. 129, 113 S.Ct.
       1993, 124 L.Ed.2d 44 (1993), the Supreme Court held that where a
       defendant is charged and convicted of multiple § 924(c) offenses in the


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       same case, each additional conviction is “a second or subsequent
       conviction” within the plain meaning of the statute.

(emphasis added). Accordingly, Cruz was properly convicted of two violations of

§ 924(c) in connection with separate underlying felony offenses. See id. Furthermore,

because no term of imprisonment imposed under § 924(c) may run concurrently with

any other term of imprisonment, the Court properly imposed consecutive sentences.

See id.; 18 U.S.C. § 924(c)(1)(D)(ii). As there was no error, Cruz’s objection has failed

to show any prejudice.

       Cruz’s final objection to the Magistrate Judge’s R&R is that his trial attorney’s

failure to object to him receiving two sentences for violations of § 924(c) constituted

ineffective assistance of counsel. In order to successfully make a claim of ineffective

assistance of counsel, Cruz must show that his counsel’s performance was deficient

and that the deficient performance was prejudicial to the defense. See Strickland v.

Washington, 466 U.S. 668, 687 (1984). As Cruz’s claim that he could not have been

sentenced twice under § 924(c) has no merit, however, his counsel’s failure to raise the

objection neither consisted of deficient performance nor prejudiced Cruz. Accordingly,

Cruz’s ineffective assistance of counsel objection fails.



V.     CONCLUSION

       As Petitioner’s objections to the Magistrate Judge’s R&R do not have any merit,

the Court ADOPTS the Magistrate Judge’s R&R and DENIES Petitioner’s § 2255

Motion to Vacate, Set Aside, or Correct His Sentence.




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      IT IS SO ORDERED.



                                        s/Marianne O. Battani
                                        MARIANNE O. BATTANI
                                        UNITED STATES DISTRICT JUDGE


DATED: April 6, 2010



                             CERTIFICATE OF SERVICE

      Copies of this Order were served upon Plaintiff and counsel of record on this
date by ordinary mail and electronic filing.


                                                      s/Bernadette M. Thebolt
                                                      Case Manager




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